        Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 1 of 13




                    BEFORE THE UNITED STATES
           JUDICIAL PANEL ON MULTIDISTRICT LITIGATION




IN RE: SKYWEST INC., FLIGHT                                MDL Docket No. 2916
ATTENDANT LITIGATION




     PLAINTIFF TREMAINE WILSON’S OPPOSITION TO SKYWEST
         AIRLINES, INC.’S MOTION FOR COORDINATED OR
            CONSOLIDATED PRE-TRIAL PROCEEDINGS
                  PURSUANT TO 28 U.S.C. § 1407



I.    INTRODUCTION

      Under 28 U.S.C. § 1407, transfer is appropriate when it will serve “the

convenience of parties and witnesses” and “promote the just and efficient conduct

of such actions.” Centralization here satisfies neither requirement. Though the three

actions have factual elements in common, centralization, under the circumstances of

this case, will not achieve either of the objectives of Section 1407 – to promote the

convenience of the parties and witnesses and to further the just and efficient conduct

of the actions.

      The Panel has often recognized that centralization is a solution of last resort,

to be avoided if other means of achieving the convenience and efficiency goals of


                                          1
       Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 2 of 13




Section 1407 are available. The Panel has also emphasized that a movant seeking

centralization bears a particularly heavy burden to show the need for centralization

where, as here, the responding parties oppose centralization, other means of

coordination are possible, and the number of actions involved is small. Each of these

factors weighs heavily against consolidation.

II.   PROCEDURAL HISTORY

      Defendant SkyWest Airlines, Inc’s (“SkyWest” and/or “Defendant”) Motion

to Transfer the Action ("Motion") seeks an order transferring the California class

action of Wilson v. SkyWest Airlines, Inc., Northern District of California Case No.

3:19-cv-1491-VC (“Wilson”) to the Northern District of Illinois. The Motion is

based on Defendants' claim that two similar matters pending against it in the

Northern District of Illinois, Hirst v. SkyWest Airlines, Inc., Case No. 1:15-cv-02036

(“Hirst”), and Tapp v. SkyWest Airlines, Inc., Case No. 1:15-cv-11117 (“Tapp”) are

“based on the same legal theories and supported by the same or substantially similar

evidence.”1 They are not.

      Plaintiffs Tremaine Wilson and Lauren Becker filed the Wilson in San

Francisco County Superior Court on February 13, 2019. Following Defendant’s

removal of this action, the parties stipulated to, and the Court issued an order



1
 Memorandum in Support of SkyWest Airlines Motion to Transfer (“Motion”),
p.1
                                          2
          Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 3 of 13




permitting, the filing of the currently-operative First Amended Complaint. Plaintiffs

bring the Wilson action as a putative class action on behalf of the following proposed

class:

         “All California residents who worked for Defendants as Flight
         Attendants, or individuals holding similar job positions, who performed
         work for Defendants on any flight routes which originated and
         concluded in California in the same calendar day…”


         Wilson seeks recovery exclusively under California state claims alleging 1)

violation of California Labor Code §§ 510 and 1198 (unpaid overtime), 2) violation

of California Labor Code §§ 226.7 and 512(a) (unpaid meal period premiums) and

3) violation of California Labor Code § 226.7 (unpaid rest period premiums). Wilson

additionally plead derivative causes of action for penalties and restitution under

California Labor Code §§ 201 and 202 (wages not timely paid upon termination),

California Labor Code § 226(a) (non-compliant wage statements), California Labor

Code §§ 2698, et seq. (“PAGA”) and California Business & Professions Code §§

17200, et seq. All of Wilson’s claims seek remedies under California state-law, for

California residents, performing work in the State of California.

         The Hirst action was filed on March 6, 2015 and, originally, alleged overtime

violations under the FLSA, on behalf of a proposed nationwide class of Flight

Attendants, and one cause of action Illinois state-law for unpaid overtime on behalf

of a proposed class of Illinois Flight Attendants. Hirst does not contain a single


                                            3
        Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 4 of 13




cause of action brought under California state-law. The Tapp action was filed on

November 9, 2015 and also originally alleged overtime violations under the FLSA

on behalf of a nationwide class, along with a single minimum wage claims for a

proposed California class of Flight Attendants. Tapp also brings three derivative

California causes of action, wholly dependent on their allegations of unpaid

minimum wage, for failure to pay wages due at termination, failure to provide

accurate wage statements and unlawful business practices and separate claims for

proposed sub-classes of Arizona and Washington workers for state law minimum

wage violations in those jurisdictions.

       On November 30, 2017, the Northern District of Illinois Court dismissed all

FLSA claims in both Hirst and Tapp. The Seventh Circuit Court of Appeals affirmed

the dismissal of the FLSA claims following appeal by the Hirst and Tapp Plaintiffs.

Accordingly, only the state-law based claims remain in either of the two actions

pending in the Northern District of Illinois.

III.   STANDARD OF REVIEW

       Section 1407 permits transfer and consolidation for pretrial proceedings of

civil actions involving common questions of fact that are pending in different

districts if the transfer and consolidation “will be for the convenience of parties and

witnesses and will promote the just and efficient conduct of such actions.” 28 U.S.C.

§ 1407. However, “‘centralization under Section 1407 should be the last solution


                                           4
       Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 5 of 13




after considered review of all other options.’” In re Six Flags Fair and Accurate

Credit Transactions Act (FACTA) Litig., 2018 WL 671913, at *1 (J.P.M.L. Feb. 1,

2018) (citation omitted).

      For the reasons explained below, transfer and consolidation of these three

pending district court actions will neither serve the convenience of the parties, nor

further the just and efficient conduct of the actions. To the contrary, because of the

difference in substantive statutory causes of action being pursued in each suit, there

are virtually no common complex questions of fact overlapping between the actions.

Thus, consolidation is unlikely to provide any benefits that could not otherwise be

achieved by informal coordination and cooperation among the parties.

IV.   ARGUMENT

      A.     No Common Complex Questions of Fact Exist in the Actions.

      Transfer is “inappropriate where Movant fails to demonstrate that the

common questions of fact are sufficiently complex, or that the accompanying

discovery will be so time consuming as to justify” transfer. In re The Boeing

Company Employment Practices Litigation (No. II), 293 F. Supp. 2d 1382, 1383

(J.P.M.L. 2003) (citing In re Scotch Whiskey Antitrust Litigation, 299 F.Supp. 543,

544 (J.P.M.L. 1969)).

      Wilson does not present the same claims, or even the same legal issues, as

those being litigated in Hirst or Tapp. Wilson brings substantive causes of action for


                                          5
       Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 6 of 13




violation of California Labor Code §§ 510 and 1198 (unpaid overtime), violation of

California Labor Code §§ 226.7 and 512(a) (unpaid meal period premiums), and

violation of California Labor Code § 226.7 (unpaid rest period premiums) and

derivative causes of action for penalties and restitution under California Labor Code

§§ 201 and 202 (wages not timely paid upon termination), California Labor Code §

226(a) (non-compliant wage statements), California Labor Code §§ 2698, et seq.

(“PAGA”), and California Business & Professions Code §§ 17200, et seq..

      Conversely, Hirst brings no claims under California state-law. Tapp’s

primary claim under California law is for unpaid minimum wage under, a claim that

is not plead and will not be resolved in this action. The only two overlapping causes

of action plead are Wilson and Tapp’s allegations for violation of California Labor

Code §§ 201 and 202 (wages not timely paid upon termination) and California Labor

Code § 226(a) (non-compliant wage statements). However, both Tapp and Wilson

bring these two causes of action as derivative claims, meaning Defendant’s liability

therefor is dependent on each action proving the merit of their corresponding

substantive causes of action. Thus, practically speaking, a finding that SkyWest has

no liability for inaccurate wage statements, because they did not fail to pay required

minimum wage (the issue pending in Tapp), would not resolve the issue of whether

SkyWest is liable for inaccurate wage statements for failing to include information

on owed meal period premiums (one of the issues brought in Wilson). For this


                                          6
          Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 7 of 13




reason, there is functionally no overlap in the substantive claims brought in this

action and either Hirst or Tapp.

         The Motion’s primary argument in favor of consolidation, that it will assert

the same core defenses in each action, is unpersuasive. The Motion relies heavily on

the following assertion:

         “SkyWest’s defenses in all three actions are based on the same legal
         theories, including: (1) preemption of state-law claims by the Railway
         Labor Act (45 U.S.C. § 151, et seq.); (2) preemption of state-law claims
         by the Airline Deregulation Act (“ADA”) (49 U.S.C. § 41713(b)(1));
         (3) field preemption under the Supremacy Clause of the U.S.
         Constitution, due to the airline industry’s extensive regulation under the
         Federal Aviation Administration’s Federal Air Regulations (49 U.S.C.
         §§ 44701 et seq.; 14 C.F.R. § 1 et seq.); (4) the lack of extraterritorial
         application of any one particular state’s wage and hour laws to work
         performed outside of that state; and (5) exemption from overtime in
         California under the Railway Labor Act (8 C.C.R. § 11090(1)(E))” 2


This argument is a red herring. SkyWest neglects to highlight that these defenses are

uniformly gate-way preemption arguments going to Plaintiffs’ standing to bring their

claims at all. They are not substantive defenses that will be asserted as to whether

Defendant’s policies violated California statutory meal break laws (alleged in

Wilson) or if SkyWest pay structure violates Arizona’s minimum wage laws (alleged




2
    Motion, p. 5.


                                             7
       Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 8 of 13




in Tapp) or any of the other dozen of disparate state law causes of action plead in

these matters.

      Moreover, SkyWest also fails to note that these purported defenses have

largely been ruled on, and rejected, by precedential appellate authority. SkyWest’s

own alleged preemption arguments were rejected by the Seventh Circuit in Hirst v.

SkyWest, Inc. 910 F.3d 961 (2018) and, notably, review of the decision was denied

by the United States Supreme Court. The Ninth Circuit has also recently rejected the

preemption of state law labor claims as they relate to Flight Attendants. See, Alaska

Airlines, Inc. v. Schurke, 898 F.3d 904 (2018). Accordingly, even if Defendant does

intend to relitigate its preemption arguments, those issues would not present novel

or difficult issues to the respective Judges currently overseeing these litigations

given the uniform holdings of the controlling case law.

      Conversely, transfer of Wilson to Illinois would require Plaintiffs to educate

an Illinois Judge, who is presumably completely unfamiliar with California state

law, on the intricacies of California’s wage & hour laws, including: what constitutes

an on-duty meal period under California law; why an on-call rest period is unlawful

under California law; how employees’ rights to overtime differ from Federal (or

Illinois State) standards; the ways in which California’s Private Attorney General

Act statute authorizes private enforcement on behalf of the State; the penalties




                                          8
        Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 9 of 13




available under the Private Attorney General Act; and a myriad of other elements of

California’s wage & hour rule and regulations.

      When unique questions of fact predominate over common questions of

fact, centralization under § 1407 is not warranted. In re Pharmacy Benefit

Plan Administrators Pricing Litigation, 206 F.Supp.2d 1362, 1363 (J.P.M.L. 2002).

This is true even if actions share common legal questions and some factual

questions.   Id.   Where any efficiencies that might result from transfer are

“outweighed by the need for separate treatment of the major portion” of cases,

transfer is not justified. In re Penn Cent. Sec. Litigation, 325 F. Supp. 309, 311

(J.P.M.L. 1971) (“[F]ull development of these cases may require investigation of

factual areas covered in [the others]. Whatever efficiencies might result in ... limited

areas from transfer, however, would be outweighed by the need for separate

treatment of the major portions of these cases.”). See, also, In re Diamond Mortgage

Corporation, et al., Securities Litigation, 1989 U.S. Dist. LEXIS 13672 (J.P.M.L.

1989) (denying motion to transfer five actions as transfer would not serve the goal

of efficiency “given the difference in type of plaintiff in each district, the

difference in scope in each district, and the difference in purpose in each

district as reflected in the legal theories underlying the actions”).

      Requiring Wilson’s unique California claims to be litigated, not only in a

different state, but in a different Appellate District, present far too many problems


                                           9
       Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 10 of 13




to be argued outweighed by any perceived efficiency in resolving Defendant’s

already rejected preemption arguments in a consolidated proceeding.

      B.     Alternatives to Centralization are Feasible and Would Achieve
             Greater Efficiencies across the Three Cases

      The Panel has emphasized that “‘centralization under Section 1407 should be

the last solution after considered review of all other options.’” In re Six Flags, 2018

WL 671913, at *1 (citation omitted). In the circumstances presented here, informal

cooperation among counsel and the parties is a workable alternative that is both

practical and likely to promote the convenience of the parties and achieve

efficiencies without the need for centralization.

      No significant discovery has been conducted in any of the three litigations.

Plaintiffs’ Counsel in the three cases have already spoke amongst themselves and

represented to Defendant their willingness to cooperate in coordinating discovery or

the scheduling the depositions of common witnesses. Defendant, in turn, is

represented by the same Counsel in all three actions. In circumstances such as these,

the Panel has often declined to order centralization, and has recognized informal

cooperation as a preferable alternative to centralization. See, e.g., In re Corvette Zo6,

2018 WL 671503, at *1 (where the litigation involved only four actions with

plaintiffs and defendants were represented by common counsel in all four actions,

“[c]ooperation among the few involved courts and these two groups of counsel

appears to be a workable alternative to centralization in these circumstances”); In re
                                           10
       Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 11 of 13




Boehringer Ingelheim, 763 F. Supp. 2d at 1378 (denying centralization of four

procedurally dissimilar cases, three of which were brought by plaintiffs with

common counsel, and where the defendant had common counsel in all four actions

and opposed centralization, concluding that “alternatives to formal centralization,

such as voluntary cooperation among the few involved counsel and courts, appear

viable”). The Panel should do the same here.

      C.     If The Panel Determines That Consolidation Is Appropriate, the
             Appropriate Venue is The Northern District of California

      Although an MDL is not necessary for the reasons discussed above, if the

Panel finds consolidation is appropriate, the Northern District of California is the

venue best suited to oversee the consolidated proceedings. As previously discussed,

The Wilson case brings claims exclusively under California state labor laws. Tapp

also brings claims under California statute on behalf of a purported class of

California Flight Attendants. The U.S. District Courts of California are more familiar

with the intricacies of California’s overtime and break laws, as well as the available

remedies for violations thereof (such as penalties under the PAGA), than courts from

outside the state. See Van Dusen v. Barrack, 376 U.S. 612, 645 (1964) ("There is an

appropriateness in having the trial of a diversity case in a forum that is at home with

the state law that must govern the case, rather than having a court in some other

forum untangle problems in conflict of laws, and in law foreign to itself."); Gill v.

Simpson, No. 1:12-CV-1011 AWI GSA, 2012 WL 4863808, at *4 (E.D. Cal. Oct.
                                          11
         Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 12 of 13




12, 2012) (because Eastern District of California sits in California and regularly

applies California state law, it is more familiar with governing California law).

        Tapp additionally brings claims for violations of Arizona and Washington

State law claims. While determination of those claims outside those respective States

is not ideal, they should at least, if possible, be assigned to a district that will allow

any appeal of those claims to be heard in the Ninth Circuit Court of Appeals. The

only argument presented by SkyWest in support of their selection of the Northern

District of Illinois for the consolidated venue are that 1) the Hirst action currently

pleads a single cause of action under Illinois state-law and 2) that Judge Thorpe of

the Northern District of Illinois is purportedly “highly educated on the flight

attendants’ CBA and compensation structure (which the Wilson putative class

challenges), airline-industry-specific vocabulary and customs, and SkyWest’s

specific policies and practices.”3 This unsupported assertion is belied by the

pleadings in Hirst and Tapp which, as previously discussed, have gone no further

than Defendant’s legal preemption attacks on the pleadings, and Defendant’s own

admission that “[t]he only discovery that has been undertaken [in Hirst and Tapp]

was largely voluntary in support of SkyWest’s motions to dismiss.” 4 There is no

reason to believe Judge Chhabria, currently overseeing Wilson in the Northern



3
    Motion, p. 10
4
    Id.
                                           12
       Case CAN/3:19-cv-01491 Document 10 Filed 08/22/19 Page 13 of 13




District of California, could not be quickly and efficiently brought up to speed on

the limited factual disclosures made to date in Tapp and Hirst. Conversely, briefing

Judge Thorpe of the Northern District of Illinois on the intricacies of a dozen

different causes of action brought under three separate sets of state law, all located

in a separate Appellate Circuit, would cause inefficiencies dwarfing any perceived

benefit of having the single remaining Illinois cause of action remain in that District.

V.    CONCLUSION

      Where, as here, a centralized proceeding would not result in increased

convenience for the parties or witnesses or “promote the just and efficient conduct

of such actions,” 28 U.S.C. § 1407, requests for transfer should be denied. If an MDL

is created, the Northern District of California is the more appropriate choice for

venue than the Northern District of Illinois.



Dated: August 22, 2019                    Respectfully submitted,
                                          The Bainer Law Firm


                                      By: /s/ Matthew R. Bainer
                                         Matthew R. Bainer, Esq.
                                          Attorneys for Plaintiff Tremaine Wilson




                                          13
